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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

META PLATFORMS, INC.,

                         Plaintiff,

           v.

THE FEDERAL TRADE COMMISSION,

– and –                                                   Case No. 1:23-cv-3562

LINA M. KHAN, REBECCA KELLY
SLAUGHTER, and ALVARO BEDOYA,
in their official capacities as Commissioners
of the Federal Trade Commission,

Defendants.


                                               NOTICE

          Plaintiff Meta Platforms, Inc. (“Meta”) respectfully submits this notice regarding its

pending Motion for Preliminary Injunction Enjoining Defendants from Proceeding in the

Administrative Proceeding Against Plaintiff, filed on November 29, 2023 (Dkt. 4) (the

“Motion”).

          As the Court is aware, Meta’s current deadline to respond to Defendant’s order to show

cause is tomorrow, March 15. (Dkt. 22-1.) Given the imminent deadline, Meta respectfully

renews its request that, to the extent the Court may not grant the Motion by March 15, it issue an

administrative stay of the March 15 deadline to allow Plaintiff to seek injunctive relief pending

appeal. (See Dkt. 20 at 50.)



 DATED: March 14, 2024                          Respectfully submitted,

                                                /s/ James P. Rouhandeh



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